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Pro Se 1 CR.B-V. 12/16) Complaint for a Civfl Case




                                          UNITED STATES DISTRICT COURT
                                                                        forfhe

                                                              District of Puerto Rico


                                                                                Division




A ^ ^-^
                                                                                  Case No. ^-CV-)6P>5 f^AM
                                                                          )                   (to be filled in by the Clerk's Office)
                                                               l/^^Sf )
                                Plainttff'fs)                             )
(Write the full name of sack plaintiff viho is filing this complaint.
                                                                          ) Jury Trial: (check one) Q Yes [] No
If the names of all the plaintiffs cannot fit in the space above,
please -write "see attached" in the space and attach an additional        )
page -with the full list .of names.)                                      )

'Ti/^f 5<^^ *^ <-;"— \
A//^/^ <^+^^
          ^ 5^^            Defendants)
(Write the full name of each defendant -who is being sued. If the
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names.)




                                                     COMTLAINT FOR A CF^CL CASE

           The Parties to This Complaint

           A. The Plaintiff(s)

                       Provide tiae information below for each plamtiff named in the complaint. Attach additional pages if
                       needed..




                                                                        ^
                                   Name                                                            << ^c—^                   y^^<

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                                   Street Address                               <^i 2. floj W L/ 6 or^. ^2^ /^/<'. ^
                                   City and County                               > // ^4' ^-^-^<-? /- ^ -^

                                   State and Zip Code
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                                   E-mail Address
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                                                                                                                             ^
            B. The Defendant(s)


                        Provide the mform.atiou below for each defendant named in fhe complaint, whe&er the defendant is an
                        individual, a government agency,, an organization, or a corporation. For an individual defendant,
                        iaclude the person'sjob or title (if known). Attach additional pages if needed.



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                                                                A
                      Defendant No. 1

                                                                  /S(^J          -5^-z^-T'y^/^
                                 Name

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                                                                                                                    'c^^-'
                                                                                                                          ^
                                 Job or Title fifkno-wn)       <Pr^S. T^(^ ^                tf^-^A-*'-^- i        -^ ^--yV-'l-T^-

                                 Street Address                 /(yo-B> /4-u^ /l^r^eu-^ H^ ro^^
                                 City and County              ^L^^-^ v^ ^-^(jt^ fi' -^ ^^^., <~R\c- ?'] -te0 ^c^
                                 State and Zip Code             T
                                                               ^A^k^c^ , n^^^'
                                 Telephone Number               -? ^_/ J^?-3 -^^?' -7^7- ^6^ - 7 // 0
                                 E-mail Address (if 'known)     -^/^^<'//?^/^2? //^4-/s^^l ( <•




                                                                                   L
                      Defendant No. 2

                                 Name                              <?<-^^s< (^? ^- ^•ffv V'< ^^        (.
                                 Job or Title fzfAnown;            c^/^-4<=^'i <^ \^'.c^. -- \>/~^-§' ^                          <^
                                  Street Address
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                                  City and County                             y>L^}>> ^1/^-^^ ^j» pf~^
                                  State and Zip Code                       ^\f> ,c-4^ ^ '•
                                  Telephone Number

                                  E-mail Address (rf known)



                      Defendant No. 3

                                  Name

                                  Job or Title ftfhzo-wn)
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                                  Street Address
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                                                                '£-^Vt.^
                                  City and County
                                                                                  ^-x
                                  State and Zip Code                               :^^ (9D^'?f
                                  Telephone Number
                                                                                       ^7
                                  E-mail Address (if known)



                       Defendant No. 4

                                  Name

                                  Job or Title (ifknovn)

                                  Street Address

                                  City and County
                                  State and Zip Code

                                  Telephone Number

                                  E-mail Address (ifkncwn)




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D.. Basis for Jurisdiction


            Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
            heard in federal court: cases mvolving a federal question and cases involving diversity of citizenship offhe
            parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
            is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
            another State or nation and Ac amount at stake is more fhan $75,000 is a diversity of citizenship case. In a
            diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.


            What is fhe basis for federal court jurisdiction? (check all that apply)

                          federal question I_| Diversity of citizenship



            Fill out the paragraphs in this section that apply to this case.


            A. If the Basis for Jurisdiction Is a Federal Question


                       List fhe specific federal statutes, federal treaties, and/or provisions of the United States Constitition that
                       areM issue in fhis case.


                           5-^ -5.
                             'JrR.5 ^^s-—^. _z~^fe, ^•y-<^.3
            B. If the Basis for Jurisdiction Is Diversity of Citizenship


                        1. The Plamti£f(s)

                                   a. Iffhe plaintiff is an indivj
                                              The plaintiff, (name) y~-^y-f^> f^\- ^S^^e?>v-
                                                                                          \\^\l/l7Ts   abitizen
                                                                                             G? s^~. ^^^s aV;iti of the
                                              State Of (name) <^>j^> .^\^ "^< \ C- ^



                                   b. If the plaintiff is a corporation

                                              The plaintiff, (name) , is incorporated

                                              under the laws offhe State of (name)

                                              and has its principal place of business in the State of (name)




                                   (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                   same information for each additional plaintiff.)

                       2.          The               Defendants)                                     "     •


                                   a.. If the defendant is as. individual /j ^-) „ <7 —^

                                              The defendant, (name) ^sofc^^, ^ &-~^Tt <~^) ~~ , is a citizen of
                                              the State of (name) n-^i^^T^ H^ f (^-e^ "' . Or is a citizen of
                                                                      v              ''

                                              (foreign nation) ; , /"I /]^


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                                 b. If the defendant is a corporation
                                                                                                           J^^...
                                            The defendant, (name) /^ (y^l/' v),'^ rA<               ^fyy^i 'ls mcorPOTa-ted und.sr

                                            the laws of the State of (name)   '^ ut^W-1-
                                                                                                                      , and has its

                                            principal place of business m the State of (name) <3a^_ .^'5~~^<^ '"'f'v-^-t, \\i i-^-

                                            Or is incorporated under fhe laws of (foreign nation) ~~^ \-e, -^> '^J^ ^.^L
                                                                                                                                      c-o
                                            and has its principal place of business in (name)


                                 (If more than one defendant is named in the complaint, attach an additional page providing the
                                 same information for each additional defendant.)


                      3. The Amount in Controversy


                                 The amount in controversy-fhe amount fhe plamtiff claims lihe defendant owes or fhe amount at
                                 stake-is more fhan $75,000, not coimtmg interest and costs of court, because (explain):




 m. Statement of Claim


            Write a short and plain statement offhe claim. Do not make legal arguments. State as briefly as possible the
            facts showing that each plaintiff is entitled to Iha damages or other relief sought. State how each defendant was
            involved and what each defendant did that caused the plaintiff harm or violated the plaiatifPs rights, including
           the dates and places offhat mvolvement or conduct. If more than one dam is asserted, number etoh claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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                              ~T
                                                   <e^
 F7. Relief


            State briefly and precisely what damages or other relief fhe plaintiff asks fhe court to order. Do not make legal
            arguments. Include any basis for claiming that fhe wrongs alleged are continuing at the present time. Include
            the amounts of any actual damages claimed for fhe acts alleged and the basis for these amounts. Include any
           .punitive or exemplary damages claimed, the amounts^ andthe reasons you claim you are entitled to actual or
            punitive money damages. <—< /y „ / ' ~ "y/ /

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V. Certification and Closing


           Under Federal Rule of Civil Procedure 11, by signing below, I certify to fhe best of my knowledge, mformatioa,
           and belief that 1±iis complaint: (1) is not being presented for an impropeT purpose, such as to harass, cause
           uoDecessary delay, or needlessly increase fhe cost of litigation; (2) is supported by existing law or by a
           nonfdvolous argument for extendmg, modifying, or reversmg existing law; (3) the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity-for furfher mvestigation or discovery; and (4) the complamt otherwise complies with the
           requirements of Rule 11.


           A. For 'Parties Without an Attorney


                      I agree to provide fhe Clerk's Office wifh any changes to my address where case-related papers may be
                       served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                       in fhe dismissal of my case.


                       Date of signing: ] f^ 1^'


                       Signatm-e of Plaintiff

                       Printed Name of Plaintiff /?


            B. For Attorneys


                       Date of signing:


                       Signature of Attorney

                       Printed Name of Attorney

                       Bar Number

                       Name of Law Finn

                       Street Address

                       State and Zip Code

                       Telephone Number

                       E-mail Address




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